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                                IN THE UNITED STATES DISTRICT COURT
                                   FOR THE DISTRICT OF MINNESOTA

                          INITIAL APPEARANCE - REVOCATION
                                                   )         COURT MINUTES - CRIMINAL
United States of America,                          )           BEFORE: Katherine M. Menendez
                                                   )             U.S. MAGISTRATE JUDGE
                          Plaintiff,               )
v.                                                 )   Case No:             99-cr-278 DWF
                                                   )   Date:                July 31, 2020
Gregory Lynn McCoy,                                )   Video Conference
                                                   )   Time Commenced:      1:04 p.m.
                          Defendant.               )   Time Concluded:      1:08 p.m.
                                                   )   Time in Court:       4 minutes
                                                   )
                                                   )
                                                   )

APPEARANCES:
 Plaintiff: Robert Lewis, Assistant U.S. Attorney
 Defendant: Manny Atwal and Sarah Weinman, Assistant Federal Public Defenders
                       X FPD           X To be appointed

Date Charges Filed:    10/30/2019           Offense: Charged in Hennepin County with Felon in Possession of
                       a Firearm and Felony Drugs; associating with others engaged in criminal activity

 X Advised of Rights

on   Violation of X Supervised Release

X Government moves for detention.
Motion is X granted, temporary detention ordered

Next appearance date is August 4, 2020 at 2:00 p.m. via video conference before U.S. Magistrate Judge Jon T.
Huseby for:
 X Detention hrg        X Preliminary Revocation

And/or

Next appearance date is TBD before U.S. District Judge Donovan W. Frank for:
 X Final Revocation


Additional Information:

X Defendant consents to this hearing via video conference.
                                                                                        s/ Sarah Erickson
                                                                           Signature of Courtroom Deputy
